                      Case:21-01137-jwb         Doc #:28 Filed: 09/02/2021     Page 1 of 2
FORM OSWD10 (06/14)
                                         United States Bankruptcy Court
                                          Western District of Michigan
                                              One Division Ave., N.
                                                    Room 200
                                             Grand Rapids, MI 49503


IN RE: Debtors (names used by the debtors in the last 8
years, including married, maiden, trade, and address):
                                                                Case Number 21−01137−jwb
         Angelica Lee VanHeck
         636 E. Madison Street                                  Chapter 13
         Hastings, MI 49058
         SSN: xxx−xx−1181                                       Honorable James W. Boyd
         David Joseph VanHeck
         636 E. Madison Street
         Hastings, MI 49058
         SSN: xxx−xx−8292
                                                    Debtors

                              ORDER CONVERTING CASE UNDER CHAPTER 7
                                     TO CASE UNDER CHAPTER 13


                                       PRESENT: Honorable James W. Boyd
                                         United States Bankruptcy Judge


   The Debtors have filed a motion, in accordance with 11 U.S.C. § 706(a), seeking to convert this case to
a case under chapter 13 of the Bankruptcy Code. The court has considered the record, and finds that the
case has not been converted previously under 11 U.S.C. § 1112 or § 1208, or § 1307.

       NOW, THEREFORE, IT IS HEREBY ORDERED that:

       1. This chapter 7 case is converted to a case under chapter 13.

       2. Marcia R. Meoli , the chapter 7 Trustee, within thirty (30) days of the date of this order
       shall file:

                (a) an account of all receipts and disbursements made in the chapter 7 case,
                and

                (b) a report on the administration of the case pursuant to 11 U.S.C. § 704(9).

        3. The Trustee forthwith shall turn over to the Debtors all records and property of the estate
       remaining in the Trustee's custody and control.

       4. The Trustee or any other party entitled to compensation may within thirty (30) days of the
       date of this order file an application for compensation and reimbursement of expenses.

       5. The Debtors within fourteen (14) days from the date of this order shall file the statements
       and schedules required by Bankruptcy Rule 1007(b), if such documents have not already
       been filed.

       6. The Debtors within fourteen (14) days from the date of this order shall file a chapter 13
       plan.

       7. The Debtors within fourteen (14) days from the date of this order shall pay all filing fees,
       including those for commencing this case, notwithstanding any order waiving the fees
       entered in this case.

       8. Barbara P. Foley has been designated to serve as standing Trustee pursuant to 28 U.S.C.
       § 586(b).
                         Case:21-01137-jwb                 Doc #:28 Filed: 09/02/2021   Page 2 of 2

    IT IS FURTHER ORDERED that the chapter 7 Trustee, U.S. Trustee, all creditors and other parties in
interest shall have 28 days from entry of this order to object to the conversion, on the ground that the
Debtors may not be eligible for relief under chapter 13, may have converted the case to chapter 13 in bad
faith, or for some other reason. This order converting the case to chapter 13, however, shall be effective
upon entry. Upon filing of a timely objection, the court will schedule a hearing and enter such order or
orders as may be appropriate under the circumstances, including, for example, an order converting the
case back to chapter 7.

   IT IS FURTHER ORDERED that the Clerk is directed to serve a copy of this Order pursuant to Fed. R.
Bankr. P. 9022 and LBR 5005−4 upon the Debtors , attorney for Debtors , chapter 7 Trustee, chapter 13
Trustee, the Office of the United States Trustee, and all parties listed on the mailing matrix herein.


                                                                       BY THE COURT
Dated:       September 2, 2021




1 Aliases for Debtor Angelica Lee VanHeck : fka Angelica Lee Zenquis
